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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
NATIONWIDE CAPITAL FUNDING,
INC.,
Plaintiff, CASE NO. 4:20-cv-03656
V.

JOHNSON CONTROLS FIRE
PROTECTION, LP,

Defendant/Third Party Plaintiff
V.

AES DESIGN & CONSTRUCTION, LLC,
Defendant/Third Party Defendant

V.

JOE E. DANIELS and IULIIA DANIELS,
Defendants.

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PLAINTIFF’S MOTION TO COMPEL MEDIATION

TO THE HONORABLE JUDGE OF SAID COURT:

Plaintiff, Nationwide Capital Funding, Inc., applies to this Court for an order to compel the
parties to mediation. In support thereof, Plaintiff shows the following:

1, Plaintiff filed this action to recover for damages from Defendants/Third Party
Defendants due to a breach of contract.

Dn On December 23, 2020, the parties filed a Joint Discovery/Case Management Plan
Under Rule 26(f) Federal Rules of Civil Procedure. As indicated in the parties’ Joint
Discovery/Case Management Plan, the parties agreed to mediation in this matter, and agreed that

an early mediation may be productive.
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3. The court signed a docket control order dated December 28, 2020 which required
the parties mediate their disputes or submit to a settlement conference before the magistrate judge.

4, Counsel for Plaintiff has made a number of attempts to contact counsel for all of
the Defendants to schedule mediation. Plaintiff has suggested a neutral location (San Antonio)
and recommended Don Philbin as the mediator.

5. As of the date of the filing of this Motion, Plaintiff's attempts to communicate
regarding mediation have been unanswered.

6. Plaintiff requests that the Court sign an order compelling counsel for the parties to
proceed in good faith to attempt to resolve their disputes through mediation, and within 30 days of
entry of an Order, select a mediator and mediation date. Plaintiff further asks this court to stay
further proceedings in this case until after the mediation if the disputes among the parties are not
settled.

qi Plaintiff seeks this relief not for delay, but so that justice may be done.

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this matter be set for
hearing, notice of hearing be sent to all parties in this case, and that upon hearing, the Court order
that:

(a) The parties submit the entire controversy to mediation;

(b) The parties, within 30 days of this order, select a mediator and mediation date;

(c) this action be stayed in its entirety pending the results of said mediation
proceedings; and

(d) Plaintiff have such other and further relief to which it may be justly entitled.

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Respectfully submitted,

Peter E. Avots

Federal I.D. No. 11424

State Bar No. 01456450

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ATTORNEY FOR NATIONWIDE
CAPITAL FUNDING, INC.

CERTIFICATE OF SERVICE

st
I certify that on this | day of July, 2021, a true and correct copy of the foregoing has
been forwarded to all parties as indicated below:

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